Case 2:04-cV-02636-.]DB-tmp Document 20 Filed 06/13/05 Page 1 of 2 Page|D 19

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FoR THE WEsTERN DISTRICT oF TENNESSEE 05 JU.-*-i 13 pM 3,
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JOHN McGRAIL,
Piaintiff,

v. No. 04-2636-B/P

METROPOLITAN LIFE INSURANCE
COMPANY,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Metropolitan Life Insurance Company’s Motion to Strike Affldavit
of John McGrai] filed on Junc 10, 2005.

This motion is referred to the United States Magistrate Judge for determination. Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order Will
constitute a waiver of that objectionl § Rule 72(a), Federal Rules of Civil Procedure.

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I'r Is so oRDERED this [3 day of June, 2005.

  

 

DANIEI; BREEN \
ITE sTATEs DIsTRICT JUDGE

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with Rule 58 and!or 79(3) FHCP on _ “O_§

 

 

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This notice confirms a copy of the document docketed as number 20 in
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Honorable .1. Breen
US DISTRICT COURT

